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                                                                                                                  Stephen D. Brody
  September 25, 2024                                                                                              D: 202-383-5167
                                                                                                                  sbrody@omm.com
  Via PACER/ECF

  The Honorable Michael A. Shipp, U.S.D.J.
  United States District Court for the District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Courtroom 5W
  Trenton, New Jersey 08608

  The Honorable Rukhsanah L. Singh, U.S.M.J.
  United States District Court for the District of New Jersey
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Courtroom 7W
  Trenton, New Jersey 08608

  Re: In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices and
  Products Liability Litigation, No. 3:16-md-2738-MAS-RLS

  Dear Judge Shipp and Judge Singh:

  We write in response to Mr. Pollock’s letter suggesting that the briefing schedule on Johnson &
  Johnson’s Second Motion to Remove Beasley Allen from the Plaintiffs’ Steering Committee (Dkt.
  33290) has been suspended by operation of the stay order entered by the Bankruptcy Court for
  the Southern District of Texas in In re: Red River Talc LLC (attached to Mr. Pollock’s letter as
  Exhibit A; complaint attached to Mr. Pollock’s letter as Exhibit B). The stay order does not apply
  to Johnson & Johnson’s motion.

  The motion asks the Court to remove Beasley Allen from the PSC because it cast votes against
  the prepackaged Red River bankruptcy plan without claimants’ consent and contrary to their
  wishes. The stay order on which Mr. Pollack relies states that “Defendants listed on Appendix
  A to the Complaint … are prohibited and enjoined from commencing or continuing to prosecute
  any Debtor Talc Claim (as defined in the Complaint) against any of the parties listed on Annex
  A.” Ex. A. For three independent reasons, Johnson & Johnson’s motion does not come within
  the stay order. First, Johnson & Johnson, the party bringing the motion, is not a defendant listed
  on Appendix A to whom the bankruptcy stay applies. See Ex. B at ¶ 13 (“Each named Defendant
  in Appendix A is a plaintiff in a pending talc personal injury action against the Debtor and/or one
  or more of the Protected Parties to recover on account of Debtor Talc Claims”) (emphasis
  added). Second, Johnson & Johnson is not asserting a Debtor Talc Claim covered by the stay
  order—defined as “any talc-related claim against the Debtor,” Ex. B ¶ 4—for the obvious reason
  that Beasley Allen and Andy Birchfield are not the debtors in the bankruptcy. Third, the motion




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  does not involve a claim against a party listed on Annex A, which lists the debtor and its affiliates
  in the Red River Talc bankruptcy. Rather, the motion is brought by parties listed on Annex A.

  Put simply, the stay order prohibits plaintiffs from continuing to prosecute claims against the
  bankruptcy debtor and its affiliates, to the potential detriment of the bankruptcy estate. It does
  not prohibit Johnson & Johnson from moving to remove Beasley Allen from the PSC for its
  misconduct. Nor does it impact Johnson & Johnson’s pending motion to disqualify Mr. Birchfield
  and Beasley Allen from this litigation.

  Respectfully submitted,



  /s/ Stephen D. Brody
  Stephen D. Brody



  /s/ Susan M. Sharko
  Susan M. Sharko



  cc: All Counsel (via ECF)




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